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 8                               UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10   THERESA DERYCKE, derivatively on behalf    Case No.: 3:22-cv-2775
     of ZUORA INC., a Delaware corporation,
11                                              VERIFIED SHAREHOLDER
                    Plaintiff,                  DERIVATIVE COMPLAINT
12
            v.
13
     TIEN TZUO, TYLER SLOAT, MARC
14   DIOUANE, PETER FENTON, KENNETH A.          DEMAND FOR JURY TRIAL
     GOLDMAN, TIMOTHY HALEY, JASON
15   PRESSMAN, MICHAELANGELO VOLPI,
     MAGDELENA YESIL, OMAR ABBOSH,
16   AND SARAH BOND,

17                  Defendants,

18          -and-

19   ZUORA INC., a Delaware corporation,

20                  Nominal Defendant.

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 1          Plaintiff Theresa DeRycke (“Plaintiff”), by her undersigned counsel, brings this

 2   shareholder derivative action on behalf of Nominal Defendant Zuora, Inc. (“Zuora” or the

 3   “Company”) against certain current and former officers and directors of the Company for

 4   violations of law, including breaches of fiduciary duties, waste of corporate assets, unjust

 5   enrichment, misappropriation of material, non-public information, and for contribution for

 6   violations of the federal securities laws. Plaintiff makes these allegations upon personal

 7   knowledge as to those allegations concerning Plaintiff and, as to all other matters, upon the

 8   investigation of counsel, which includes, without limitation: (i) review and analysis of public

 9   filings made by Zuora and other related parties and non-parties with the U.S. Securities and

10   Exchange Commission (“SEC”); (ii) review and analysis of press releases and other publications

11   disseminated by the Company, certain of the defendants and other related non-parties;

12   (iii) review of news articles, shareholder communications, and postings on Zuora’s website

13   concerning the Company’s public statements; (iv) publicly available pleadings, papers, and

14   court documents, including any documents filed with and publicly available from the related

15   pending securities fraud class action, Roberts v. Zuora, Inc., Case 3:19-cv-03422-SI (N.D. Cal.)

16   (the “Securities Class Action”); and (v) review of other publicly available information

17   concerning Zuora, the Individual Defendants (defined below), and the Wrongful Refusal

18   Defendants (defined below).

19   I.     NATURE AND SUMMARY OF THE ACTION

20          1.      Zuora is a self-lauded “evangelist” of the “subscription economy,” which refers

21   to its role in the shift—over the course of the past decade—in both consumption and selling

22   behavior from a product-or service-centric approach to a subscription model centered around

23   ongoing customer relationships.

24          2.      Specifically, through Zuora’s subscription order-to-cash platform, dubbed the

25   Zuora Central Platform, the Company offered its “flagship” software application products,

26   Zuora Billing (“Billing”) and Zuora RevPro (“RevPro”).         These two applications helped

27   customers with accounting metrics whose business models were based on revenues derived from

28   sales of subscription services. For example, customers used Billing for accounting related to
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 1   subscription billing, while customers used RevPro as a revenue recognition solution.

 2   Significantly, Zuora’s directors and officers led the Company’s clients to believe the two

 3   applications could be used collectively.

 4          3.         In late 2018, achieving integration became a particularly salient objective among

 5   Zuora’s clients due to a change in accountancy law for public companies. Beginning from at

 6   least April 12, 2018 and continuing through the present (the “Relevant Period”), Zuora’s

 7   directors and officers caused the Company to misrepresent and conceal significant integration

 8   issues between Billing and RevPro. Despite assembling two project teams to resolve ongoing

 9   integration issues, after 1.5 years, Zuora failed to integrate Billing and RevPro.

10          4.         Zuora’s directors and officers were well-apprised of the Billing and RevPro

11   integration failure. They also knew the problem severely impacted sales and demand for the

12   Company’s products. In fact, the Company’s most important Billing customer, Zoom Video

13   Communications (“Zoom”), initially elected to purchase RevPro but ultimately ceased

14   implementation due to the integration failure and then stopped making payments.

15          5.         Yet, notwithstanding their knowledge of the Company’s crippling technology

16   failures and customer losses, Zuora’s directors and officers stoked investor excitement by

17   causing the Company to falsely and misleadingly represent that Billing and RevPro could

18   function as a combined solution and that the Company would experience strong growth as a

19   result. Unbeknownst to the investing public, these statements omitted, altogether, the following

20   material facts:

21                     (i)     Billing and RevPro customers could not successfully merge the data from

22                             both systems;

23                     (ii)    Zuora could not offer a robust, single system for subscription businesses

24                             to manage their monetization strategies, billing terms, customer payment

25                             and collection, and revenue recognition; and

26                     (iii)   Zuora experienced sales execution problems (including difficulties cross-

27                             selling Billing and RevPro), reduced demand, and customers refused to

28                             pay for these services.
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 1           6.     As a result of these false and misleading statements and omissions, Zuora

 2   suffered significant damages, including, without limitation, the costs and expenses of a securities

 3   fraud class action (and any potential settlement or judgment therefrom), the costs and expenses

 4   of compensation to derelict directors and officers in breach of their fiduciary duties, and a loss

 5   of credibility and market capitalization.

 6           7.     On November 12, 2021, Plaintiff issued a written demand (the “Demand”) on

 7   Zuora’s board of directors (the “Board”) to investigate and take the necessary legal action

 8   against those responsible for the damages the Company has sustained as a result of the

 9   wrongdoing detailed herein. Notwithstanding that over six months have passed since Plaintiff

10   issued the Demand—and in total and patent contravention of Delaware law and the directors’

11   fiduciary duties—the Board unreasonably and wrongfully ignored the Demand.

12           8.     The Board has failed to act independently, in good faith, and within the realm of

13   sound business judgment in so doing.

14           9.     In response to the Board’s unreasonable and wrongful failure to respond to

15   Plaintiff’s Demand and disinterestedly and independently investigate and remediate harms

16   caused to the Company, Plaintiff has filed this action alleging breaches of fiduciary duties, waste

17   of corporate assets, unjust enrichment, and for contribution for violations of federal securities

18   law. Because the Board’s failure to respond to the Demand was improper and directly at odds

19   with the Board’s fiduciary duties, as detailed further herein, this derivative action should be

20   permitted to proceed for the benefit of the Company and its shareholders.

21   II.     JURISDICTION AND VENUE

22           10.    This Court has jurisdiction over the claims asserted herein under 28 U.S.C.

23   § 1332 because there is complete diversity among the parties and the amount in controversy

24   exceeds the sum of $75,000, exclusive of interest and costs.

25           11.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331 in that this action states

26   a federal question. Plaintiff has asserted a federal claim for contribution derivatively on behalf

27   of the Company, arising under Sections 10(b) and 21D of the Securities Exchange Act of 1934

28   (the “Exchange Act”), 15 U.S.C. § 78u-4. Pursuant to federal statutory law, this Court has
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 1   original federal question jurisdiction over the federal contribution claim.

 2            12.     This Court has supplemental jurisdiction over the remaining claims under 28

 3   U.S.C. § 1367.

 4            13 .    This action is not a collusive action designed to confer jurisdiction on a court of

 5   the United States that it would not otherwise have.

 6            14.     This Court has personal jurisdiction over each defendant because each defendant

 7   is either a corporation conducting business and maintaining operations in this District or is an

 8   individual who is either present in this District for jurisdictional purposes or has, directly and

 9   indirectly, used the means and instrumentalities of interstate commerce, including, but not

10   limited to, the United States mails, interstate telephone communications, and the facilities of the

11   national securities exchanges and markets, such that each defendant has sufficient minimum

12   contacts with this District so as to render the exercise of jurisdiction by this Court permissible

13   under traditional notions of fair play and substantial justice.

14            15.     Venue is proper in this District pursuant to Section 27 of the Exchange Act

15   (15 U.S.C. § 78aa) and 28 U.S.C. §§ 1391(b), (c), and (d). Zuora maintains its headquarters in

16   Redwood City, California, which is situated in this District, conducts substantial business in this

17   District, and many of the acts and conduct that constitute the violations of law complained of

18   herein, including dissemination to the public of materially false and misleading information,

19   occurred in and/or were issued from this District. In connection with the acts alleged in this

20   Complaint, Defendants, directly or indirectly, used the means and instrumentalities of interstate

21   commerce, including, but not limited to, the mails, interstate telephone communications, and the

22   facilities of the national securities markets.

23            16.     Pursuant to Local Rule 3‐5(b), Plaintiff requests the clerk assign this action to the

24   San Francisco Division of this district as, under Local Rule 3‐2(c), a substantial part of the events

25   or conduct giving rise to the claims herein occurred in the San Mateo County, California.

26   III.     THE PARTIES

27            A.      Plaintiff

28            17.     Plaintiff Theresa DeRycke is a current shareholder of Zuora and has continuously
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 1   held Zuora common stock at all relevant times. Plaintiff is a citizen of New York.

 2           B.      Nominal Defendant Zuora

 3           18.     Nominal Defendant Zuora is incorporated under the laws of Delaware with its

 4   principal executive offices located in Redwood City, California.

 5           19.     Zuora is an issuer of the common stock. Zuora’s common stock trades on the

 6   New York Stock Exchange under the symbol “ZUO.” As of February 28, 2022, the number of

 7   shares of Zoura’s Class A common stock outstanding was 119.0 million and the number of

 8   shares of Zoura’s Class B common stock outstanding was 9.0 million.

 9           C.      Individual Defendants

10           20.     Defendant Tien Tzuo (“Tzuo”) has served as the chief executive officer (“CEO”)

11   and chairman of the Board since Zuora’s inception in 2007. Tzuo is a defendant in the Securities

12   Class Action. Tzuo received $402,120.00 in total compensation from the Company in 2018,

13   $2,996,581.00 in total compensation from the Company in 2019, and $3,435,030.00 in total

14   compensation from the Company in 2020. Tzuo is a citizen of California.

15           21.     Defendant Tyler Sloat (“Sloat”) served as the chief financial officer (“CFO”) of

16   Zuora from 2010 to April 2020. Sloat received $2,176,863.00 in total compensation from the

17   Company in 2020. Sloat is a defendant in the Securities Class Action. Sloat is a citizen of

18   California.

19           22.     Defendant Marc Diouane (“Diouane”) served as the president of Zuora from

20   2014 to December 2019. Diouane received $2,155,072.00 in total compensation from the

21   Company in 2018, $1,457,142.00 in total compensation from the Company in 2019, and

22   $1,607,610.00 in total compensation from the Company in 2020. Diouane is a citizen of

23   California.

24           23.     Defendant Peter Fenton (“Fenton”) has served as a Zuora director since 2007.

25   During the Relevant Period, Defendant Fenton served on the Board’s Audit Committee. Fenton

26   is a citizen of California.

27           24.     Defendant Kenneth A. Goldman (“Goldman”) has served as a Zuora director

28   since 2016. Goldman received $187,483.00 in total compensation from the Company in 2019
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 1   and $199,991.00 in total compensation from the Company in 2020. During the Relevant Period,

 2   Defendant Goldman served on and was chair of the Board’s Audit Committee. Goldman is a

 3   citizen of California.

 4          25 .    Defendant Timothy Haley (“Haley”) has served as a Zuora director since 2010.

 5   During the Relevant Period, Defendant Haley served on and was chair of the Board’s

 6   Compensation Committee and served on the Board’s Nominating the Corporate Governance

 7   Committee. Haley is a citizen of California.

 8          26.     Defendant James C. Pressman (“Pressman”) has served as a Zuora director since

 9   2008. During the Relevant Period, Defendant Pressman served on the Board’s Compensation

10   Committee and the Board’s Audit Committee. Pressman is a citizen of California.

11          27.     Defendant Michelangelo Volpi (“Volpi”) served as a Zuora director from 2011

12   to June 2020. During the Relevant Period, Defendant Volpi served on the Board’s Audit

13   Committee. Volpi is a citizen of California.

14          28.     Defendant Magdalena Yesil (“Yesil”) has served as a Zuora director since 2017.

15   Yesil received $301,900.00 in total compensation from the Company in 2018, $189,358.00 in

16   total compensation from the Company in 2019, and $202,491.00 in total compensation from the

17   Company in 2020. During the Relevant Period, Defendant Yesil served on and was chair of the

18   Board’s Nominating the Corporate Governance Committee. Yesil is a citizen of California.

19          29.     Defendant Omar Abbosh (“Abbosh”) has served as a Zuora director since July

20   2020. Abbosh is a citizen of England.

21           30.    Defendant Sarah Bond (“Bond”) has served as a Zuora director since July 2020.

22   Bond is a citizen of Texas.

23           31.    Defendants identified in ¶¶ 20-30 above are referred to herein as the “Individual

24   Defendants.”

25           32.    Defendants identified in ¶¶ 23-24, 26-27 are sometimes referred to herein as the

26   “Audit Committee Defendants.”

27           33.    Defendants identified in ¶¶ 21-22, 24, 26-27 are sometimes referred to herein as

28   the “Insider Selling Defendants.”
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 1            34.    Defendants identified in ¶¶ 20, 23-30 are sometimes referred to herein as the

 2   “Wrongful Refusal Defendants.”

 3            35 .   Defendants identified in ¶¶ 20-21 are sometimes referred to herein as the “Officer

 4   Defendants” or the “Securities Class Action Defendants.”

 5   IV.      SUBSTANTIVE ALLEGATIONS

 6            36.    To enhance its line of financial application products for its subscription-based

 7   business customers, Zuora acquired new product, RevPro, and then sought to integrate RevPro

 8   with its pre-existing flagship application, Billing. Unfortunately, all attempts at integration

 9   failed. And worse, in breach of their fiduciary duties and in violation of federal securities law,

10   the Individual Defendants caused the Company to mislead investors and the public about the

11   vitality of the integration and the Company’s financial forecasts. Eventually, the truth came to

12   light, causing the Company’s stock to tumble, a securities fraud class action to be initiated

13   against Zuora, and other damages.

14            A.     Zuora’s Background And The Subscription Economy

15            37.    Zuora is a publicly traded company headquartered in Redwood City, California.

16   The Company designs and sells “software-as-a-service” applications for companies. Zuora

17   provides subscription commerce, billing, and finance systems to enterprise clients on a

18   subscription basis, which enable its business clients in various industries to launch, manage, and

19   transform into subscription businesses.

20            38.    In 2007 when defendant Tzuo founded the Company, Zuora coined the term the

21   “Subscription Economy,” which is now a $102 billion industry. Zuora predicted that product

22   and service companies would exponentially shift to a subscription business model, in which

23   products and services are priced based on usage, consumption, and outcomes. In making this

24   business shift, Zuora predicted then-current payment processing applications would become

25   obsolete as businesses would need subscription-based payment processing applications capable

26   of handling the complexities associated with ongoing customer relationships, e.g., prorated

27   billing, complex revenue recognition, and flexible plans.

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 1          B.      Zuora’s Failure to Integrate its Billing and RevPro Products

 2          39.     The Zuora “Central Platform” is the hub of Zuora’s subscription management

 3   solution and is purportedly composed of six core engines: pricing, subscription orders, rating,

 4   global payments, subscription metrics, and accounting.

 5          40.     Originally launched in 2008, the Company’s primary and most widespread

 6   product is Billing, which 90% of Zuora’s customers use. Billing claims to give customers the

 7   ability to bill in a multitude of ways, prorate bills, group customers into batches for different

 8   billing and payment operations, set payment terms, consolidate invoicing across multiple

 9   subscriptions, and collect revenue.

10          41.     In May 2017, Zuora acquired Leeyo Software, Inc. (“Leeyo”), a revenue

11   recognition software provider. With this acquisition, Zuora added to its portfolio Leeyo’s

12   product RevPro. Similar to what Billing does for managing subscription model processes,

13   RevPro automates the range of internal, multi-departmental processes required to comply with

14   the new Accounting Standard Codification 606/International Financial Reporting Standards 15

15   (“ASC 606”). 1 According to Zuora’s officers, the Company’s acquisition of RevPro created a

16   “one-stop shop for automating financial operations, further increasing Zuora’s dominance in the

17   subscription economy field.”

18          42.     Shortly after it acquired RevPro from Leeyo, in October 2017, Zuora began its

19   attempts to implement RevPro for its own internal use in a project called Zuora on Zuora

20   (“ZoZ”). The purpose of ZoZ was to test RevPro’s compatibility with Zuora’s other products

21   on its Central Platform.

22          43.     During the ZoZ project, the Company encountered significant integration

23   challenges. Zuora discovered it could not use RevPro in connection with any of the Company’s

24   other applications, including its most popular product, Billing. Zuora’s highest executives,

25
     1
26     ASC 606 mandated that companies had to adopt new standards for allocating and recognizing
     revenue; public companies were required to adopt such standards by the start of their fiscal year
27   beginning after December 15, 2017, and private companies were required to do so by the start
     of their fiscal year beginning after December 15, 2018. As a result of the new ASC 606
28   standards, companies face a more “cumbersome” internal accounting and reporting process.
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 1   including the Individual Defendants, were informed that the ZoZ project exposed an integration

 2   failure. Indeed, the ZoZ team held weekly review meetings, which Zuora’s Chief Information

 3   Officer, Alvina Antar, who reported directly to Sloat, attended. In one of these project meetings

 4   in early 2018, Sloat told the ZoZ project team that the market needed a seamless solution and

 5   that “Zuora needed to get its act together with RevPro.”

 6          44.     In early 2018, with the ZoZ project failing miserably, Zuora formed a new

 7   internal project coined the “Keystone Project,” aimed at building a workable connection for

 8   customers between RevPro and Billing. However, just like ZoZ, the Keystone Project failed.

 9   Further, the Keystone Project highlighted that the integration failure was not customer specific;

10   rather, it was far reaching and impacted virtually all of Zuora’s customers attempting to use

11   Billing and RevPro.

12          45.     The Keystone Project held weekly calls that detailed the project’s updates, and

13   Tzuo and Sloat participated in these calls. Once it was clear the Keystone Project failed, the

14   Company scrapped it in March of 2019. Thereafter, at the directive of Tzuo, and with all of the

15   Individual Defendants’ knowledge, Zuora attempted a third project, dubbed K-2 to the fix the

16   integration issues plaguing the Company.

17          46.     During the course of the ZoZ and Keystone projects, the Individual Defendants

18   knew the Billing and RevPro integration failures were severely impacting Zuora’s bottom line.

19   As a direct result of the significant issues customers encountered when trying to use RevPro and

20   Billing collectively, major customers refused to pay Zuora.          As just one example, the

21   Company’s most important Billing customer, Zoom, which initially elected to purchase RevPro,

22   ultimately opted not to implement the application fully due to the integration failure. Worse,

23   Zoom stopped paying Zuora.

24          47.     Prior Zuora employees, who worked before and during the below representations,

25   claim that for customers using Billing and RevPro, “there was a huge friction in reconciling the

26   two systems,” there were immediate problems (in October 2017) integrating the systems,

27   customers’ unhappiness operating the two systems “came up in team meetings all the time,” and

28   Zuora had trouble selling RevPro because it did not work with Zuora Central. According to
                                           9
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 1   the prior employees, as a result of the strained customer relationships, customers withheld

 2   payments due to the failed Billing and RevPro connectively, and the Company lost sales and

 3   revenue.

 4
            C.      The Individual Defendants Caused Zuora To
 5                  Make Improper Statements During The Relevant Period

 6          48.     The Individual Defendants knew Zuora’s internal ZoZ integration project had

 7   failed (by early 2018), knew the Keystone Project failed (by early 2019), and knew customers

 8   had experienced failed integrations, leading, in some instances, to major customers, like Zoom,

 9   refusing to make payments. Nevertheless, from April 2018 to May 2019, the Individual

10   Defendants concealed these failures and misleadingly represented to investors–through SEC

11   filings, press releases, and teleconferences–robust financial forecasts based on the purported (but

12   nonexistent) Billing and RevPro combined solution.

13          49.     With the Leeyo (and RevPro) acquisition paving the way, on April 12, 2018,

14   Zuora filed its registration statement and prospectus (collectively, the “Registration Statement”)

15   with the SEC in connection with its initial public offering (“IPO”), which Tzuo and Sloat signed.

16   Concealing the already-doomed ZoZ project, the Registration Statement stated that Zuora was

17   “well positioned to capitalize” on the shift to the subscription economy based on its ability to

18   “orchestrate[s] the subscription order-to-cash process, including quoting, billing, collections,

19   analytics, and revenue recognition” and emphasized Zuora’s “Cross-Sell Flagship Products,”

20   Billing and RevPro.

21          50.     According to the Registration Statement:

22          Our revenue growth and ability to achieve and sustain profitability will depend,
            in part on being able to expand our direct sales force and increase the productivity
23          of our sales force.

24          To date, most of our revenue has been attributable to the efforts of our direct sales
            force. In order to increase our revenue and achieve and sustain profitability, we
25          must increase the size of our direct sales force, both in the United States and
            internationally, to generate additional revenue from new and existing customers.
26
            We believe that there is significant competition for sales personnel with the skills
27          and technical knowledge that we require. Because our solution is often sold to
            large enterprises and involves long sales cycle and complex customer
28          requirements, it is more difficult to find sales personnel with the specific skills
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 1          and technical knowledge needed to sell our solution and, even if we are able to
            hire qualified personnel, doing so may be expensive. Our ability to achieve
 2          significant revenue growth will depend, in large part, on our success in recruiting,
            training, and retaining sufficient numbers of direct sales personnel to support our
 3          growth. New sales personnel require significant training and can take a number
            of months to achieve full productivity. Our recent hires and planned hires may
 4          not become productive as quickly as we expect and if our new sales employees
            do not become fully productive on the timelines that we have projected or at all,
 5          our revenue will not increase at anticipated levels and our ability to achieve long-
            term projections may be negatively impacted. We may also be unable to hire or
 6          retain sufficient numbers of qualified individuals in the markets where we do
            business or plan to do business. Furthermore, hiring sales personnel in new
 7          countries requires additional set up and upfront costs that we may not recover if
            the sales personnel fail to achieve full productivity. In addition, as we continue to
 8          grow, a larger percentage of our sales force will be new to our company and our
            solution, which may adversely affect our sales if we cannot train our sales force
 9          quickly or effectively. Attrition rates may increase, and we may face integration
            challenges as we continue to seek to expand our sales force. If we are unable to
10          hire and train sufficient numbers of effective sales personnel, or if the sales
            personnel are not successful in obtaining new customers or increasing sales to our
11          existing customer base, our business will be adversely affected.

12          51.    Furthermore, concealing the failing ZoZ project, the Registration Statement

13   addressed the acquisition of Leeyo and the demand for the RevPro application given the new

14   accounting standards set forth in ASC 606:

15          The market for our revenue recognition automation software product, [RevPro],
            is rapidly evolving as a result of the effectiveness of ASC 606, which makes it
16          difficult to forecast adoption rates and demand for this product, and could have a
            material adverse effect on our business and operating results.
17
            We began selling [RevPro] following our acquisition of Leeyo in May 2017. We
18          have less experience marketing, determining pricing for, and selling [RevPro],
            and we are still determining how to best market, price, and support adoption of
19          this offering. We have directed, and intend to continue to direct, a significant
            portion of our financial and operating resources to develop and grow [RevPro].
20          The market for [RevPro] is rapidly evolving as a result of the effectiveness of
            ASC 606, the revenue recognition accounting standard that will take effect for
21          most public companies in January 2018. While we have seen a significant number
            of [RevPro] deployments, particularly in the second half of fiscal 2018, associated
22          with the effectiveness of ASC 606, it is uncertain whether [RevPro] will achieve
            and sustain high levels of demand and market acceptance. Accordingly, our future
23          success depends in part upon growth in this market and the ability of our [RevPro]
            product to meet the demand for revenue recognition automation solutions. We
24          have limited experience with respect to determining the optimal prices for this
            solution. Companies may choose to purchase our [RevPro] product to comply
25          with ASC 606 in the short-term but may develop proprietary solutions in-house
            or migrate toward other solutions developed by our competitors in the future.
26          Customers may purchase [RevPro] as a standalone product and not purchase other
            core Zuora products. The rapidly evolving nature of this market, as well as other
27          factors that are beyond our control, reduces our ability to accurately evaluate our
            long-term outlook and forecast annual performance. A reduction or slowdown in
28          demand for revenue recognition automation software, caused by shifts in the
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 1          marketplace, regulatory requirements, accounting standards, lack of acceptance,
            technological challenges, and competing solutions, could have a material adverse
 2          effect on our business, future growth, operating results, and financial condition.

 3           52.    Following the IPO, on May 31, 2018, the Individual Defendants authorized Zuora

 4   to announce via a press release the Company’s financial results for its first fiscal quarter ended

 5   April 30, 2018. The Company attached the press release to its Form 8-K, signed by Sloat, and

 6   filed with the SEC the same day. In the press release, Zuora stated it obtained $51.7 million in

 7   revenue and a net loss of $19.4 million for the quarter. The filing and press release did not

 8   mention the ongoing Billing and RevPro integration failures.

 9           53.    On June 5, 2018, Zuora represented on its Twitter account: “Don’t underestimate

10   the complexity of revenue recognition. The deep dark depths are very, very complex! Thank

11   goodness for Zuora + RevPro integration for a seamless order-to-revenue process!” Similarly,

12   from April 12, 2018 to May 30, 2019 (the class period in the securities action, infra), Zuora’s

13   website touted “Zoura’s subscription management technology…automates the entire customer

14   lifecycle from a single platform,” that Zuora Central is a “single platform[] for your order-to-

15   revenue process” and “easily connects the various applications in your order-to-revenue

16   ecosystem.”

17           54.    In addition to Form 8-K, the Individual Defendants authorized the Company’s

18   corresponding quarterly report, filed on Form 10-Q on June 13, 2018, signed by Sloat, reiterated

19   the above financial results without acknowledging the failed ZoZ project. Zuora attached Rule

20   13a-14(a) and 15d-14(a) certifications to Form 10-Q, pursuant to the Exchange Act and the

21   Sarbanes-Oxley Act of 2002 (the “SOX”), which Tzuo and Sloat signed.

22           55.    On August 30, 2018, the Individual Defendants authorized Zuora to issue a press

23   release announcing its financial results for the second fiscal quarter ended July 31, 2018. The

24   Company reported $57.8 million in revenue with a net loss of $19.6 million. In connection with

25   this press release, Zuora held a conference call with analysts, during which Tzuo and Sloat spoke

26   enthusiastically about the Billing and RevPro applications, including the technology’s purported

27   cohesive use and long-lasting demand. First, Sloat summarized the “vision for Zuora” on the

28   call, representing:
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 1          If you think back 5 months ago, and you’re at our road show, you basically laid
            out our vision for Zuora. And it really boiled down to 3 things: first, that the shift
 2          to Subscription Economy is a global trend and it’s happening across all industries
            and all geographies; second, Zuora has built the only complete subscription
 3          management solution focused 100% on helping companies of all sizes, launch,
            scale and transform into a subscription business; and finally, as a result, we have
 4          a portfolio at play across the entire Subscription Economy. And as a result of that,
            we have a unique opportunity to deliver sustainable long-term growth and build
 5          a great business. So the question is, if we were doing a road show presentation
            today, would you be saying the same exact thing?
 6

 7          56.     Further, hiding the failed ZoZ project and the Company’s attempt to salvage

 8   integration with yet another rescue mission, the Keystone Project, Sloat explained that RevPro

 9   offered Zuora a “longer-term opportunity,” and that the complexities of subscription businesses

10   require a program like RevPro to automate the process of revenue recognition, stating:

11          I think we’re seeing 2 things. One, ASC 606 and [International Financial
            Reporting Standard] 15 is a good driver for customers kind of last year when we
12          talk about 605, 606 upgrade, but what we’re seeing is that companies had a time
            line. They had to get compliant and a lot of them chose to do that through kind of
13          some manual band aid process, what we call. So we’re seeing those guys now.
            They’ve gone through their first integration. But they know it’s not sustainable,
14          and they’re going to need the revenue automation solution for 606 going forward.
            So those customers are still out there. But on top of that, it’s all about -- the reason
15          we did the acquisition was not 606. It is about business model complexity that
            hits both your quote-to-cash solution as well as your revenue automation. And
16          that’s really what we’re seeing right now or the Hitachi example of that Tien
            touched on that, that’s all about just complexity and manual processes. And they
17          wake up -- a customer wakes up, and they realize they’ve outsourced all revenue
            to some other place, and they’ve got tens and tens of bodies doing this all
18          manually. And that’s not sustainable. And so that’s where I think that the long
            kind of like tailwinds are going to be for RevPro.
19

20          57.     Likewise, Tzuo raved about Zuora’s experience with ASC 606 implementation

21   as an “asset,” and described Zuora’s “expertise” with RevPro for revenue recognition:

22          Again, we feel good. I mean -- so when we look at this year, the company has
            grown significantly as an independent company, and they have never raised a
23          venture amount and so have limited ability to invest, and we've been able to invest
            in that business. And so -- look, when we pull back and you ask yourselves which
24          company out there really has the most 606 experience, and I would bet that it's
            this team. They've done, I mean, dozens or scores of 606 implementations. Ask
25          around for all the tech companies that you guys cover. Chances are they're using
            RevPro for revenue recognition. And so that expertise is an asset, especially when
26          we can apply more distribution capability against their products.

27          58.     On September 12, 2018, the Individual Defendants authorized Zuora to file a

28   quarterly report on Form 10-Q, signed by Sloat, which reiterated the financial results of the
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 1   August 30, 2018 Form 8-K and press release. Zuora attached Rule 13a-14(a) and 15d-14(a)

 2   certifications to Form 10-Q, pursuant to the Exchange Act and the SOX, which Tzuo and Sloat

 3   signed.

 4             59.    On November 29, 2018, the Individual Defendants authorized Zuora to issue a

 5   press release, which was attached to the Company’s Form 8-K filed with the SEC that day.

 6   Therein, the Company announced its financial results for its third fiscal quarter, which ended on

 7   October 31, 2018. The press release announced $61.6 million in revenue and a net loss of $17.9

 8   million. In connection with the press release, Zuora held an earnings call with analysts, during

 9   which Tzuo explained that Billing and RevPro were based on a “simple concept they automate

10   the financial complexities generated by subscription models.” Specifically, and refusing to

11   disclose either the failed ZoZ project or the Company’s then-feverish attempt to find a solution

12   through the Keystone Project, Tzuo stated:

13             [Billing and RevPro are] both based on a simple concept they automate the
               financial complexities generated by subscription models. They’re highly, highly
14             differentiated and they’re mission-critical for our customers.

15                                             *       *       *

16             What we’re finding is that many public companies rush to get compliant, but a
               lot of them did so manually with spreadsheets, and they found this to be a short-
17             term band-aid solution. These companies are realizing that the real problem was
               never ASC 606; the bigger, more systemic trend is that these companies were
18             struggling to scale their revenue operations because of all these new flexible
               consumption recurring models that their companies were launching, and they
19             couldn’t do it with a manual Excel-based approach. ASC 606 was the thing that
               only highlighted the problem.
20
                                               *       *       *
21
               You can see that the underlying demand hasn’t gone away, but our value
22             proposition is now more centered around automation and efficiencies versus
               simply compliance. [It’s nice to see] this quarter, we also signed on other public
23             companies like Carbonite and Pivotal; who both chose RevPro all because we got
               the best revenue automation platform on the market, and there’s a big, big
24             difference between being compliant and being competitive.

25             60.    Sloat furthered Tzuo’s message, stating:

26             That was the reason to bring on the RevPro product in the first place. The need
               for revenue automation is not just driven by ASC 606 compliant. It’s a larger
27             issue with many of these companies. As the complexity of revenue recognition
               limits their ability to efficiently scale and meet their business goals. That’s why
28             we continue to see good demand for our RevPro product.

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 1             61.    Tzuo also pointed to Zuora’s success in “bringing customers live” on its platform

 2   to have “a big swing effect”:

 3             [S]o it’s something that I wouldn’t say there’s anything that we put in place in
               the last 90 days, but it’s obviously a huge focus of ours, and we hope to continue
 4             to show continuous improvements year-over-year on these numbers, and so we
               feel really good. I think we benefited from the fact that we have a very sticky
 5             product, and when you look at our product, and once it goes in, whether it’s on
               Billing on the revenue recognition side, right, it’s sticky. It’s running company’s
 6             core operations. It’s the heart of the businesses. And so the 2 factors for us that
               influence churn are, one, how are well are we doing bringing customers live, and
 7             that’s where we continue to show improvements year-over-year.

 8             62.    On December 1, 2018, in a TheStreet.com article, Tzuo stated that subscription

 9   business models were “wreaking havoc” on billing and revenue recognition, which, he

10   submitted, presented an opportunity for Zuora. When asked about Billing and RevPro cross-

11   selling, Tzuo indicated that the percentage of clients using both solutions is still low. However,

12   he added that Zuora did successfully cross-sell RevPro to major clients last quarter, such as

13   Pivotal Software and Carbonite, and represented that business challenges involved in financially

14   managing subscription businesses will drive additional traction. “I think the broader message

15   is, companies are realizing [that] these new business models...are just wreaking havoc in their

16   financial operations,” he said. “And the two key areas that [they’re] wreaking havoc on is billing

17   and revenue recognition.”

18             63.    On December 13, 2018, the Individual Defendants authorized Zuora to file a

19   quarterly report on Form 10-Q, signed by Sloat, which reiterated the financial results of the

20   November 29, 2018 Form 8-K and press release. Zuora attached Rule 13a-14(a) and 15d-14(a)

21   certifications to Form 10-Q, pursuant to the Exchange Act and the SOX, which Tzuo and Sloat

22   signed.

23             64.    By March 21, 2019, Zuora had long abandoned the ZoZ project and the Keystone

24   Project had likewise failed. The Individual Defendants authorized the Company to issue a press

25   release, which was attached to the Company’s Form 8-K filed with the SEC. In the press release,

26   the Company announced its financial results for the fourth quarter ending January 31, 2019.

27   Zuora reported revenue of $235.2 million and a net loss of $77.6 million. It also disclosed

28   income guidance fiscal year 2020, with expected revenue of $289 million to $293.5 million. In
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 1   connection with the reported financial results, the Company held and earnings call with analysts.

 2   On the call, and despite ZoZ and Keystone Project failures, Tzuo touted that Zuora was the “only

 3   game in town if you’re looking for a complete end-to-end subscription platform, including

 4   billing and revenue recognition.”

 5          65 .    Furthermore, in response to an analyst’s question regarding where the Company

 6   stood with respect to sales execution and sales hiring, Tzuo represented:

 7          We feel really good. I mean we have a whole team in place now that’s taken our
            learnings of how to make this business model work and we have two big
 8          competitive moats; one is obviously the technology and the other one we believe
            is just as important, is our go-to-market expertise of how to engage with
 9          companies and how to help them understand what are the elements…. We’ve
            taken that knowledge, we’ve got a whole team that knows how to find the right
10          folks, bring them onboard. We’re doing a good job of hiring. We’re doing a good
            job at [enablement]. We scaled this worldwide already. It was important for us to
11          break through the international learnings actually before we went public, and so
            you’re seeing our international business growing really, really well, but we feel
12          good about where it is.

13          66.     On April 18, 2019, the Individual Defendants authorized Zuora to file its Annual

14   Report with the SEC on Form 10-K, which was signed by Tzuo and Sloat. In the 10-K, the

15   Company reiterated previous statements regarding the integrated nature of Zuora’s “order-to-

16   revenue process”:

17          Zuora is a leading cloud-based subscription management platform. We provide
            software that enables companies across multiple industries and geographies to
18          launch, manage or transform to a subscription business model. Architected
            specifically for dynamic, recurring subscription business models, our cloud-based
19          software functions as an intelligent subscription management hub that automates
            and orchestrates the entire subscription order-to-revenue process, including
20          billing and revenue recognition. Our solution enables businesses to easily change
            pricing and packaging for products and services to grow and scale, to efficiently
21          comply with revenue recognition standards, and to build meaningful relationships
            with their subscribers.
22

23          67.     The 10-K also promoted Zuora’s ability to deploy and configure its solution on

24   its clients’ internal systems, explaining that “[w]e can deploy and configure our portfolio of

25   order-to-revenue products to meet a wide variety of use cases for subscription business models,”

26   including Billing and RevPro.       Furthermore, the 10-K emphasized that Zuora’s solution

27   “[f]ree[d] [u]p IT and[e]ngineering [r]esources,” and that with Zuora, “engineering and IT

28   departments no longer need to build in-house custom systems or customizations for their
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 1   Enterprise Resource Planning (ERP) systems to keep up with market changes, ongoing customer

 2   demands, and new order-to-cash processes.”

 3           68 .   On May 8, 2019, Zuora filed its Proxy Statement on Form 14(a) with the SEC

 4   pursuant to Section 14(a) of the Exchange Act (the “2019 Proxy Statement”). Specifically, with

 5   respect to Zuora’s Code of Conduct, the 2019 Proxy Statement stated:

 6           We are committed to ethical business practices and, accordingly, we have adopted
             a Global Code of Business Conduct and Ethics (Code of Conduct) that applies to
 7           all the members of our [Board], officers and employees. Our Code of Conduct is
             available on our website at https://investor.zuora.com/governance/governance-
 8           documents. We intend to disclose future amendments to certain portions of the
             Code of Conduct or waivers of such provisions granted to executive officers and
 9           directors on our website, as permitted under applicable New York Stock
             Exchange and SEC rules.
10
     V.      REASONS THE INDIVIDUAL
11           DEFENDANTS’ STATEMENTS WERE IMPROPER

12           69.    The true facts, which were known or recklessly disregarded by the Individual

13   Defendants during the Relevant Period but concealed from the investing public, were as follows:

14                  (a)      Billing and RevPro customers could not successfully merge the data from

15           both systems;

16                  (b)      Zuora could not offer a robust, single system for subscription businesses

17           to manage their monetization strategies, billing terms, customer payment and collection,

18           and revenue recognition;

19                  (c)      the Company experienced sales execution problems (including

20           difficulties cross-selling Billing and RevPro), reduced demand, and customers refused

21           to pay for these services; and

22                  (d)      based on the foregoing, the Individual Defendants lacked a reasonable

23           basis for their positive statements about the Company’s financial performance and

24           outlook during the Relevant Period.

25           70.    As a result of the Individual Defendants’ false and misleading statements and

26   omissions, Zuora shares traded at artificially inflated prices during the Relevant Period. Once

27   the true facts regarding the Company’s financial prospects and future business prospects began

28   to emerge, the Company’s stock price fell dramatically, erasing hundreds of millions of dollars
                                           17
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 1   market capitalization.

 2   VI.      THE TRUTH EMERGES

 3            71.    On May 30, 2019, the Individual Defendants finally admitted the truth about

 4   Billing and RevPro’s failed integration. On this date, after the trading session, Zuora announced

 5   its first quarter results for the Company’s fiscal year 2020. These results included quarterly

 6   revenue growth of only 22% (a decline of over 18% from the prior quarter) and a drop in large

 7   customer growth. Further, Zuora reported it lost $20.6 million, a loss of 16% year-over-year.

 8   This forced Zuora to lower its fiscal year 2020 guidance from a range of $289 million to

 9   $293.5 million to a range of $268 million to $278 million.

10            72.    In a May 30, 2019, press release, Zuora also revealed that it projected

11   subscription revenues of only $200 to $206 million, below previous guidance of $209 to $211.5

12   million. To make matters worse, the Company announced that its President and Head of Sales,

13   Diouane, would transition from that role to the role of advisor to the CEO. Zuora advised it

14   would conduct a search for Diouane’s replacement in the role of President and Head of Sales.

15            73.    On the same day, Zuora held an earnings call with analysts, where Tzuo finally

16   admitted that issues of “sales execution” and “product integration” were to blame for the

17   downward guidance adjustment. With respect to sales execution, Tzuo explained that:

18            First, based on what I saw in Q1, we need to improve our sales execution. As you
              know from our recent calls, Global 2000 companies have been an important
19            source of our recent growth, Companies like Caterpillar, Ford and Schneider
              Electric. And so we’ve been expanding our strategic sales teams and have hired
20            a number of talented salespeople over the past year. What we see in Q1 is that the
              newer reps were less than half as productive than our more experienced reps.
21            We’re finding that we need to improve the support of our new reps with training
              and experienced oversight to help them ramp and close new businesses.
22

23            74.    Later, on the same call, in an exchange with a Jeffries LLC analyst, Tzuo

24   admitted to the integration issues with RevPro and Billing:

25            [Jeffries LLC analyst]: . . . So Tien, I sort of get the integration of Billing and
              RevPro and how that could sort of slow some things down. But . . . I mean you
26            bought Leeyo 2 years ago. So like -- it’s hard[,] like how could it not be
              integrated? How could that be slowing things down right now? And then kind of
27            related to that, like you're talking about cross-sell. What about the other products?
              Like what about CPQ and Connect and Analytics? Are you seeing any traction
28            there? Or is that something else that also needs to be integrated better?
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 1           [Tzuo]: No, no. I'll give you some color there. We did acquire Leeyo a little less
             than 2 years ago, but I guess we are coming on 2 years. The first year was really
 2           focused on ASC 606, and there was such a tight deadline to get the core set up,
             dozens -- close to 100 customers live on ASC 606. And so John, that was -- that
 3           took us all the way through when these adoption standards were, right? So I'd call
             out Q1, Q2 of last year. And so honestly, we didn't really have time and the
 4           resource to focus on the integration between the 2 until after the 606 [wave] was
             complete. So we didn't really start heavy work on the integration until early last
 5           summer, late spring, early last summer. And long story short, we went down one
             direction that proved to be a dead end, a false direction. We course corrected.
 6

 7           75.        In the months after the May 30, 2019 call, the full extent of the Individual

 8   Defendants’ knowledge (and, thus, misrepresentations and concealments) of the Billing and

 9   RevPro integration issues were revealed to the public. For example, on September 10, 2019, at

10   the Deutsche Bank Technology Conference, Joon Huh (“Huh”), the Company’s Vice President

11   of Investor Relations, stated that “last year, we actually spent some time doing the integration.

12   So making sure that people that have our Billing product could also buy RevPro and have a clean

13   integration across it.” Huh noted, however, that at that time, “we had some challenges going

14   through it we highlighted on the Q1 call.” While Huh explained the Company “spent some time

15   doing the integration,” in truth, Zuora spent approximately 1.5 years on the integration issues,

16   creating two comprehensive projects designed to solve the integration issues, both of which

17   failed entirely.

18   VII.    DEFENDANTS’ IMPROPER INSIDER SELLING

19           76.        Not all of the Company’s shareholders were harmed by the Individual

20   Defendants’ misconduct. During the Relevant Period, while in possession of material, adverse,

21   non-public information, certain of the Individual Defendants unloaded their holdings of Zuora

22   stock at bloated prices. Specifically, the Insider Selling Defendants took advantage of the

23   artificially inflated prices to sell their Zuora shares for more than $49,936,467 in proceeds:

24

25

26

27

28
                                              19
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 1   Sloat

 2             Date            Number of Shares    Price             Proceeds
 3            9/5/2018             344,009         $26.10         $8,978,635
             3/26/2019             364,528         $20.04         $7,305,141
 4
             3/28/2019              35,472         $20.00            $709,440
 5                                                 Total          $16,993,216
 6
     Diouane
 7
               Date            Number of Shares    Price             Proceeds
 8            9/5/2018              5,200          $26.71            $138,892
 9            9/5/2018              29,000         $25.75            $746,750
             12/6/2018             130,500         $18.03         $2,352,915
10
             3/26/2019               993           $20.22            $20,078
11           3/26/2019             129,007         $19.75         $2,547,888
12           4/29/2019             240,000         $22.19         $5,325,600
13                                                 Total          $11,132,123

14   Goldman
15             Date            Number of Shares    Price             Proceeds
16           3/26/2019              35,000         $19.92            $697,200
                                                   Total             $697,200
17

18   Pressman

19             Date            Number of Shares    Price             Proceeds
             12/17/2018             1,050          $17.87            $18,764
20
             3/26/2019              1,040          $19.76            $20,550
21                                                 Total             $39,314
22
     Volpi
23
               Date            Number of Shares    Price             Proceeds
24
              9/5/2018              28,780         $26.52            $763,246
25           12/11/2018            137,629         $18.66         $2,568,157
26           12/12/2018            563,941         $18.77         $10,585,173
             12/13/2018             44,800         $18.44            $829,112
27
             12/14/2018             23,471         $18.32            $521,589
28
                                              20
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 1         12/19/2018                 95,398                   $18.22                $1,738,152
 2         12/20/2018                 39,762                   $18.26                 $726,054
            1/4/2019                 161,116                   $18.43                $2,969,368
 3
             3/26/19                  19,187                   $19.48                 $373,763
 4                                                             Total                 $21,074,614
 5          77.     The Insider Selling Defendants executed these insider sales under highly
 6   suspicious circumstances. Specifically, these trades were made just before Zuora revealed the
 7   truth concerning the foregoing material misstatements and omissions on May 30, 2019. These
 8   dubious sales appear timed to maximize profits while the Company’s stock price traded at
 9   artificially inflated prices due to the misrepresentations and material omissions detailed herein.
10   VIII. DUTIES OF THE INDIVIDUAL DEFENDANTS TO ZUORA
11          A.      The Individual Defendants’ Fiduciary Duties
12          78.     By reason of their positions as officers, directors and/or fiduciaries of Zuora, and
13   because of their ability to control the business and corporate affairs of the Company, the
14   Individual Defendants owed and owe, the Company and its shareholders the fiduciary duties of
15   care and loyalty, including the subsidiary duties of good faith, oversight, and disclosure, and
16   were, and are, required to use their utmost ability to control and manage the Company in a fair,
17   just, honest, and equitable manner. The Individual Defendants were, and are, required to act in
18   furtherance of the best interests of the Company and its shareholders so as to benefit all
19   shareholders equally, and not in furtherance of their personal interest or benefit.
20          79.     Each director and officer of the Company owed, and owes, to Zuora and its
21   shareholders the fiduciary duties of due care, loyalty and good faith in the administration of the
22   affairs of the Company and in the use and preservation of its property and assets. The duty of
23   care requires informed, deliberative decision-making based on all material information
24   reasonably available. The duty of loyalty requires acting (including deciding not to act) on a
25   disinterested and independent basis, in good faith, with an honest belief that the action is in the
26   best interests of the Company and its shareholders.
27          80.     Each director and officer of the Company is required to act in furtherance of the
28   best interests of Zuora and its shareholders to benefit all of the Company’s shareholders equally,
                                            21
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 1   and not in furtherance of their personal interest or benefit.

 2           81.    The Individual Defendants, because of their positions of control and authority as

 3   directors and/or officers of Zuora, were able to, and did, directly and indirectly, exercise control

 4   over the wrongful acts complained of herein. Because of their advisory, executive, managerial,

 5   and directorial positions with the Company, each of the Individual Defendants had knowledge

 6   of material, non-public information regarding the Company. As senior officers and directors of

 7   a publicly held company whose stock was registered with the SEC under the Exchange Act and

 8   publicly traded, the Individual Defendants had a duty to promptly disseminate accurate and

 9   truthful information regarding the Company’s financial and business prospects so that the

10   market price of the Company’s stock would be based on truthful and accurate information.

11           82.    At all times relevant hereto, the Individual Defendants were the agents of each

12   other and of the Company and were at all times acting within the course and scope of such

13   agency. Each of the Individual Defendants’ conduct – who were officers and directors of the

14   Company – was ratified by the remaining Individual Defendants who collectively comprised the

15   Company’s board of directors at all relevant times herein.

16           83.    To discharge their fiduciary duties, the officers and directors of Zuora were

17   required to exercise reasonable and prudent supervision over the management, policies,

18   practices, and controls of the Company. By virtue of such duties, the officers and directors of

19   the Company were required to, among other things:

20                  (a)     exercise good faith to ensure that the affairs of the Company were

21          conducted in an efficient, business-like manner, so as to make it possible to provide the

22          highest quality performance of their business;

23                  (b)     exercise good faith to ensure that the Company was operated in a diligent,

24          honest, and prudent manner, and in compliance with all applicable federal and state laws,

25          rules, regulations, and requirements, and all contractual obligations, including acting

26          only within the scope of its legal authority;

27                  (c)     when put on notice of problems with the Company’s business practices

28          and operations, exercise good faith in taking appropriate action to correct the misconduct
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 1           and prevent its recurrence;

 2                   (d)     remain informed as to how the Company conducted its operations, and,

 3           upon receipt of notice or information of imprudent or unsound conditions or practices,

 4           to make reasonable inquiry in connection therewith, and to take steps to correct such

 5           conditions or practices;

 6                   (e)     establish and maintain systematic and accurate records and reports of the

 7           business and internal affairs of the Company and procedures for the reporting of the

 8           business and internal affairs to the Board and to periodically investigate, or cause

 9           independent investigation to be made of, said reports and records;

10                   (f)     exercise reasonable control and supervision over the public statements

11           made by the Company’s officers and employees and any other reports or information

12           that the Company was required by law to disseminate;

13                   (g)     refrain from unduly benefiting themselves and other Company insiders at

14           the expense of the Company; and

15                   (h)     examine and evaluate any reports of examinations, audits, or other

16           financial information concerning the financial affairs of the Company and to make full

17           and accurate disclosure of all material facts concerning, inter alia, each of the subjects

18           and duties set forth above.

19           84.     Finally, because of their positions, the Individual Defendants directly and/or

20   indirectly exercise control over Zuora, and, in doing so, each have knowledge of material,

21   nonpublic information regarding the Company.

22           B.      Additional Duties Of The Committee Defendants

23           85.     In addition to their fiduciary duties, the committee members of the Board are

24   tasked with specific duties. Fenton, Goldman, and Volpi currently serve on Zoura’s Audit

25   Committee (the “Audit Committee Defendants”) and Pressman formerly served on Zuora’s

26   Audit Committee during the Relevant Period. The Audit Committee’s primary functions

27   include, without limitation, assisting the Board in fulfilling its oversight responsibilities relating

28   to the Company’s financial accounting, reporting, compliance, and internal controls. Pursuant
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 1   to their committee charter, the Audit Committee Defendants owe and owed specific duties to

 2   Zuora, including, without limitation, to:

 3                   (a)     review and discuss with management the Company’s quarterly and

 4            annual financial results and related earnings press releases and earnings guidance to be

 5            distributed to the public;

 6                   (b)     review the Company’s specific disclosures under “Management’s

 7            Discussion and Analysis of Financial Condition and Results of Operations” in its filings

 8            with and documents furnished to the SEC;

 9                   (c)     review and discuss with management the adequacy and effectiveness of

10            the Company’s accounting and financial reports processes and systems of internal

11            control;

12                   (d)     review and discuss with management the Company’s internal controls

13            report prior to filing the Company’s annual report on Form 10-K;

14                   (e)     prepare an annual report to the Company’s stockholders for inclusion in

15            the Company’s annual proxy statements as required by SEC rules; and

16                   (f)     periodically review the Company’s insider trading policy.

17            86.    Haley and Pressman serve on Zoura’s Compensation Committee (collectively,

18   the “Compensation Committee Defendants”). The Committee’s primary functions include,

19   without limitation, overseeing the Company’s policies with respect to the compensation of the

20   Company’s board members and officers. Pursuant to their committee charter, the Compensation

21   Committee Defendants, owed and owe specific duties to Zuora, including, without limitation,

22   to:

23                   (a)     review the Company’s compensation strategy;

24                   (b)     review and approve compensation of officers;

25                   (c)     evaluate and recommend the compensation of the CEO; and

26                   (d)     review officer stock ownership guidelines.

27            87.    Haley and Yesil serve on Zoura’s Nominating and Corporate Governance

28   Committee (collectively, the “Nominating and Corporate Governance Committee Defendants”).
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 1   The Nominating and Corporate Governance Committee’s primary functions include, without

 2   limitation, developing and recommending corporate governance guidelines and policies;

 3   overseeing the evaluation of the Board and each committee of the Board; and advising the Board

 4   on corporate governance matters and federal securities laws matters.          Pursuant to their

 5   committee charter, the Nominating and Corporate Governance Committee Defendants, owed

 6   and owe specific duties to Zuora, including, without limitation, to:

 7                  (a)     review the adequacy of the Zuora Code;

 8                  (b)     consider the Board’s leadership structure;

 9                  (c)     consider procedures for stockholder communications; and

10                  (d)     oversee the process for evaluation of the performance of the Board.

11           C.     Duties Pursuant To The Zuora Code

12           88.    Zuora’s Global Code of Business Conduct and Ethics (the “Zuora Code”) applies

13   to every Board member, officer, employee, independent contractor, and consultant. It provides

14   that the Company strives for high ethical standards, especially of honesty and integrity, stating

15   that:

16           This Code cannot address every ethical issue or circumstance that may arise, so,
             in complying with the letter and spirit of this Code, employees must apply
17           common sense, together with high personal standards of ethics, honesty and
             accountability, in making business decisions where this Code has no specific
18           guideline.

19                                           *       *      *

20           Zuora expects all of its directors, executives, managers and other supervisory
             personnel to act with honesty and integrity, use due care and diligence in
21           performing responsibilities to Zuora to help foster a sense of commitment to this
             Code among all of its employees, and to foster a culture of fairness, honesty and
22           accountability within Zuora.

23           89.    The Zuora Code further provides that the Company not only prioritizes legal

24   compliance, but that it considers it only the beginning of an employee’s duties:

25           Zuora’s success depends upon each employee performing his or her duties to
             Zuora in compliance with applicable laws and in cooperation with governmental
26           authorities. Zuora’s success depends upon each employee operating within legal
             guidelines and cooperating with authorities. It is essential that each employee
27           knows and understands the legal and regulatory requirements that apply to
             Zuora’s business and to his or her specific area of responsibility. While an
28           employee is not expected to have complete mastery of these laws, rules and
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 1          regulations, employees are expected to be able to recognize situations that require
            consultation with others to determine the appropriate course of action. If any
 2          directors have any question in the area of legal compliance, he or she should
            approach the Chair (or, in the case of the Chair, Zuora’s Compliance Officer),
 3          and if any employees have any questions in the area of legal compliance, they
            should approach their supervisor or Zuora’s Compliance Officer immediately.
 4
            Legal compliance is only a part of Zuora’s ethical responsibility, however, and
 5          should be viewed as the minimum acceptable standard of conduct. Zuora strives
            to act with the utmost integrity, not just in its most important corporate decisions,
 6          but also in the actions taken every day by its employees and directors. Ethical
            conduct is a high ideal, but often just means exercising common sense and sound
 7          judgment. Acting ethically will help Zuora become a better company, a better
            commercial partner for other companies, and a better corporate citizen.
 8
            90.     As insider trading is illegal and unethical, the Zuora Code directs employees to
 9
     review its separate Insider Trading Policy guidelines. The code states, in part:
10
            Every employee is prohibited from using “inside” or material nonpublic
11          information about Zuora, or about companies with which Zuora does business, in
            connection with buying or selling Zuora’s or such other companies’ securities,
12          including “tipping” others who might make an investment decision on the basis
            of this information. It is illegal, and it is a violation of this Code, Zuora’s Insider
13          Trading Policy (the “Insider Trading Policy”) and other Zuora policies, to tip or
            to trade on inside information. Employees who have access to inside information
14          are not permitted to use or share that inside information for stock trading purposes
            or for any other purpose except to conduct Zuora business.
15
            Employees must exercise the utmost care when in possession of material
16          nonpublic information. The Insider Trading Policy provides guidance on the
            types of information that might be nonpublic and material for these purposes, and
17          guidelines on when and how an employee may purchase or sell shares of Zuora
            stock or other Zuora securities.
18
            Please review the Insider Trading Policy for additional information.
19
            91.     The Zuora Code requires the Company meet its disclosure obligations, and that:
20
            Zuora’s disclosure controls and procedures are designed to help ensure that
21          Zuora’s reports and documents filed with or submitted to the [SEC] and other
            public disclosures are complete, fair, accurate, fairly present Zuora’s financial
22          condition and results of operations and are timely and understandable. Employees
            who collect, provide or analyze information for or otherwise contribute in any
23          way in preparing or verifying these reports should be familiar with and adhere to
            all disclosure controls and procedures and generally assist Zuora in producing
24          financial disclosures that contain all of the information about Zuora that is
            required by law and would be important to enable investors to understand Zuora’s
25          business and its attendant risks, including, but not limited to:

26          •       no employee may take or authorize any action that would cause Zuora’s
                    financial records or financial disclosure to fail to comply with generally
27                  accepted accounting principles, the rules and regulations of the SEC or
                    other applicable laws, rules and regulations;
28
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 1          •      all employees must cooperate fully with Zuora’s finance department, as
                   well as Zuora’s independent auditors and legal counsel, respond to their
 2                 questions with candor and provide them with complete and accurate
                   information to help ensure that Zuora’s books and records, as well as its
 3                 reports filed with the SEC, are accurate and complete; and

 4          •      no employee should knowingly make (or cause or encourage any other
                   person to make) any false or misleading statement in any of Zuora’s
 5                 reports filed with the SEC or knowingly omit (or cause or encourage any
                   other person to omit) any information necessary to make the disclosure in
 6                 any of such reports accurate in all material respects.

 7          In connection with the preparation of the financial and other disclosures that
            Zuora makes to the public, including by press release or filing a document with
 8          the SEC, directors must, in addition to complying with all applicable laws, rules
            and regulations, follow these guidelines:
 9
            •      act honestly, ethically, and with integrity;
10
            •      comply with this Code;
11
            •      endeavor to ensure complete, fair, accurate, timely and understandable
12                 disclosure in Zuora’s filings with the SEC;

13          •      raise questions and concerns regarding Zuora’s public disclosures when
                   necessary and ensure that such questions and concerns are appropriately
14                 addressed;

15          •      act in good faith in accordance with the director’s business judgment,
                   without misrepresenting material facts or allowing independent judgment
16                 to be subordinated by others; and

17          •      comply with Zuora’s disclosure controls and procedures and internal
                   controls over financial reporting.
18

19          92.    The Zuora Code sets special standards for “Senior Financial Personnel,” a group

20   explicitly including Tzuo and Sloat as Zuora’s CEO and CFO, respectively:

21          Zuora’s Finance Department has a special responsibility to promote integrity
            throughout the organization, with responsibilities to stakeholders both inside and
22          outside of Zuora. As such, the Board requires that the [CEO] and senior personnel
            in Zuora’s finance department adhere to the following ethical principles and
23          accept the obligation to foster a culture throughout Zuora as a whole that ensures
            the accurate and timely reporting of Zuora’s financial results and condition.
24
            Because of this special role, Zuora requires that the [CEO], [CFO], Chief
25          Accounting Officer and any other people performing similar functions (“Senior
            Financial Employees”):
26
            •      Act with honesty and integrity and use due care and diligence in
27                 performing his or her responsibilities to Zuora.

28                                           *       *      *
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 1          •       Provide constituents with information that is accurate, complete,
                    objective, relevant, timely and understandable, including information for
 2                  inclusion in Zuora’s submissions to governmental agencies or in public
                    statements.
 3
            •       Comply with applicable laws, rules, and regulations of federal, state and
 4                  local governments, and of any applicable public or private regulatory and
                    listing authorities.
 5

 6          D.      Control, Access, and Authority

 7          93.     The Individual Defendants, because of their positions of control and authority as

 8   directors and/or officers of Zuora, were able to, and did, directly and/or indirectly, exercise

 9   control over the wrongful acts complained of herein, as well as the contents of the various public

10   statements issued by Zuora.

11          94.     Because of their advisory, executive, managerial, and directorial positions with

12   Zuora, each of the Individual Defendants had access to adverse, non-public information about

13   the financial condition, operations, and improper representations of Zuora.

14          95.     At all times relevant hereto, each of the Individual Defendants was the agent of

15   each of the other Individual Defendants and of Zuora and was at all times acting within the

16   course and scope of such agency.

17          E.      Reasonable and Prudent Supervision

18          96.     To discharge their duties, the officers and directors of Zuora were required to

19   exercise reasonable and prudent supervision over the management, policies, practices, and

20   controls of the financial affairs of the Company. By virtue of such duties, the officers and

21   directors of Zuora were required to, among other things:

22                  (a)     ensure that the Company complied with its legal obligations and

23          requirements, including acting only within the scope of its legal authority and

24          disseminating truthful and accurate statements to the investing public;

25                  (b)     conduct the affairs of the Company in an efficient, business-like manner

26          so as to make it possible to provide the highest-quality performance of its business, to

27          avoid wasting the Company’s assets, and to maximize the value of the Company’s stock;

28                  (c)     properly and accurately guide investors and analysts as to the true
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 1            financial and business prospects of the Company at any given time, including making

 2            accurate statements about the Company’s business and financial prospects and internal

 3            controls;

 4                   (d)     remain informed as to how Zuora conducted its operations, and, upon

 5            receipt of notice or information of imprudent or unsound conditions or practices, make

 6            reasonable inquiry in connection therewith, and take steps to correct such conditions or

 7            practices and make such disclosures as necessary to comply with securities laws;

 8                   (e)     refrain from trading on material, adverse, non-public information; and

 9                   (f)     ensure that Zuora was operated in a diligent, honest, and prudent manner

10            in compliance with all applicable laws, rules, and regulations.

11   IX.      BREACHES OF DUTIES

12            97.    Each Individual Defendant and Wrongful Refusal Defendant, by virtue of their

13   position as a director and/or officer, owed to Zuora and its shareholders the fiduciary duties of

14   loyalty and good faith, and the exercise of due care and diligence in the management and

15   administration of the affairs of Zuora, as well as in the use and preservation of its property and

16   assets. The conduct of the Individual Defendants and Wrongful Refusal Defendants complained

17   of herein involves a knowing and culpable violation of their obligations as directors and officers

18   of Zuora, the absence of good faith on their part, and a reckless disregard for their duties to

19   Zuora and its shareholders that the Individual Defendants and the Wrongful Refusal Defendants

20   were aware, or should have been aware, posed a risk of serious injury to Zuora.

21            98.    The Individual Defendants each breached their duty of loyalty, including the

22   subsidiary duties of good faith, oversight, and disclosure, by issuing, or causing the Company

23   to issue, false and/or misleading statements that misled shareholders into believing that

24   disclosures related to the Company’s financial and business prospects were truthful and accurate

25   when made.

26            99.    The Wrongful Refusal Defendants violated their fiduciary duties by failing to act

27   independently, in good faith, and within the realm of sound business judgment in considering

28   and responding to the Demand.
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 1          100.    In addition, as a result of the Individual Defendants’ misrepresentations and

 2   concealments, on June 14, 2019, plaintiff Casey Roberts, on behalf of all persons who purchased

 3   or otherwise acquired Zuora common stock on a United States open market during the class

 4   period of April 12, 2018 to May 30, 2019, filed a securities class action against Tzuo and Sloat,

 5   as well as the Company, for violating Sections 10(b) and 20(a) of the Exchange Act (15 U.S.C.

 6   § 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R. § 240.10b-5). Roberts

 7   v. Zuora, Inc., et al., Case No. 3:19-cv-03422-SI (ND Cal. June 14, 2019).

 8          101.    On September 9, 2019, the Court appointed New Zealand Methodist Trust

 9   Association to serve as lead plaintiff, and, on November 8, 2019, the New Zealand Methodist

10   Trust Association filed an amended consolidated complaint (the “Securities Action”). Id. Dkt.,

11   Nos. 54, 60. Much of the misconduct set forth in the Securities Action is set forth herein,

12   including that Tzuo and Sloat made materially false and misleading statements concerning:

13   (i) the functionality of Billing and RevPro and the applications’ ability to work together; and

14   (ii) the decrease in sales and demand for Zuora’s products due to the RevPro and Billing

15   integration problems.

16          102.    Defendants Tzuo and Sloat filed a motion to dismiss the Securities Action on

17   January 22, 2020. However, on April 28, 2020, the United States District Court Judge Susan

18   Illston denied the motion in full, finding the complaint sufficiently alleged “Zuora and the

19   individual defendants made numerous false or misleading statements promoting the [RevPro’s

20   and Billing’s] functionality” . . . and “‘omitted to disclose a fundamental technical challenge’:

21   that customers ‘could not successfully integrate the data from [Billing and RevPro],’” and that

22   “‘[t]he failed [RevPro and Billing] integration problems ultimately resulted in reputational

23   damage and reduced demand for all of Zuora’s products, including RevPro, the [c]entral

24   platform, and other homegrown Zuora products.’” Id. Dkt., No. 75.

25          103.    In denying the motion to dismiss, the Court rejected the defendants’ arguments

26   that the statements were non-actionable, forward-looking statements and that the statements

27   lacked materiality. The Court determined that the operative complaint sufficiently alleges

28   materially false and misleading statements related to the functionality of RevPro and Billing, as
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 1   well as statements related to the demand and sales for Zuora’s products.

 2          104.    In particular, the Court found the complaint alleges the statements were

 3   materially false or misleading because Billing and RevPro were not integrated, meaning Zuora’s

 4   clients had “to either export the data from [Billing] and import it into [RevPro] manually, or

 5   build a customized integration that could ingest the required data from [Billing] into [RevPro].”

 6   The plaintiffs also allege with particularity that the statements are contradicted by the failures

 7   of the ZoZ and Keystone Projects as well as the problems that Zuora’s customers experienced

 8   when they tried to implement both products, including significant issues with major customers

 9   refusing to pay Zuora due to integrations problems.

10          105.    In denying the motion to dismiss, the Court further found the complaint links the

11   defendants’ representations about the functionality and integration of its products with the

12   statements relating to growth and growth strategy. For example, the Registration Statement

13   identifies as a “key element” of Zuora’s growth strategy “increasing transaction volume and

14   upsells and cross-sells with additional products,” including a “focus on acquiring new customers

15   through [its] flagship products, [Billing] and [RevPro].”

16          106.    As such, the Court found the complaint satisfactorily alleges the defendants did

17   not have a reasonable basis to believe that the Billing and RevPro products were integrated or

18   would work “seamlessly” or “easily” with each other because they were aware of undisclosed

19   facts such as the failed Zo[Z] and Keystone projects and customer integration issues. Similarly,

20   for the same reasons, the challenged statements about growth and cross-selling and upselling,

21   which were predicated on the successful integration and implementation of RevPro, are

22   actionable.

23          107.    The Securities Action seeks all damages and remedies under the Exchange Act,

24   as well as the plaintiffs’ costs and expenses, including reasonable attorney fees. Through its

25   IPO, Zuora sold 12.7 million shares of common stock to the public at a price of $14.00, netting

26   nearly $160 million in cash proceeds. A result of the aforementioned misrepresentations and

27   concealments, the stock price reached a high of $28 in June 2019, whereby Zuora attained over

28   $3 billion in market capitalization. After the defendants’ fraud came to light, on Mary 31, 2019,
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 1   Zuora closed at $13.99, erasing $520 million in market capitalization.

 2           108.   In addition to the Securities Class Action detailed above, another securities class

 3   action was filed in California Superior Court for the County of San Mateo (“State Securities

 4   Class Action”). On October 15, 2020, San Mateo County Judge Danny Chou denied the parties’

 5   motions to stay and overruled the defendants’ demurrers to plaintiff’s §§ 11 and 15 claims. The

 6   Court found that “Plaintiffs have adequately pled at least one material misrepresentation or

 7   omission” and that it could not “conclude at the demurrer stage that any portion of the drop of

 8   Zuora’s stock price below its IPO price is solely attributable to factors other than

 9   misrepresentations or omissions in the registration statement.”

10           109.   Given the heightened pleading standards applicable to the Securities Action,

11   namely Fed. R. Civ. 9(b) and the Private Securities Litigation Reform Act (15 U.S.C. § 78u-4),

12   and given the Securities Action survived defendants’ motion to dismiss, there is a high degree

13   of certainty that Tzuo and Sloat will face significant liability for their misconduct.

14   Consequently, Zuora has expended, and will continue to expend, significant sums of money to

15   rectify the wrongdoing detailed herein.

16
     X.      CONSPIRACY, AIDING AND
17           ABETTING, AND CONCERTED ACTION

18           110.   In committing the wrongful acts alleged herein, the Individual Defendants and

19   Wrongful Refusal Defendants have pursued, or joined in the pursuit of, a common course of

20   conduct, and have acted in concert with and conspired with one another in furtherance of their

21   wrongdoing. The Individual Defendants and Wrongful Refusal Defendants further aided and

22   abetted and/or assisted each other in breaching their respective duties.

23           111.   During all times relevant hereto, the Individual Defendants collectively and

24   individually initiated a course of conduct that was designed to mislead shareholders into

25   believing that the Company’s business and financial prospects were better than they actually

26   were. In furtherance of this plan, conspiracy, and course of conduct, the Individual Defendants

27   collectively and individually took the actions set forth herein.

28           112.   The purpose and effect of the Individual Defendants’ conspiracy, common
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 1   enterprise, and/or common course of conduct was, among other things, to: (a) disguise the

 2   Individual Defendants’ violations of law, including breaches of fiduciary duties and unjust

 3   enrichment; and (b) disguise and misrepresent the Company’s actual business and financial

 4   prospects.

 5            113 .   The Individual Defendants accomplished their conspiracy, common enterprise,

 6   and/or common course of conduct by causing the Company to purposefully, recklessly, or

 7   negligently release improper statements. Because the actions described herein occurred under

 8   the authority of the Board, each of the Individual Defendants was a direct, necessary, and

 9   substantial participant in the conspiracy, common enterprise, and/or common course of conduct

10   complained of herein.

11            114.    Each of the Individual Defendants aided and abetted and rendered substantial

12   assistance in the wrongs complained of herein. In taking such actions to substantially assist the

13   commissions of the wrongdoing complained of herein, each Individual Defendant acted with

14   knowledge of the primary wrongdoing, substantially assisted the accomplishment of that

15   wrongdoing, and was aware of his or her overall contribution to and furtherance of the

16   wrongdoing.

17   XI.      DAMAGES TO ZUORA

18            115.    As a result of the Individual Defendants' wrongful conduct, Zuora conducted its

19   affairs in evident violation of federal and state laws and regulations. Moreover, the Company

20   was caused to disseminated false and misleading statements, and omitted material information

21   to make such statements not false and misleading when made. This misconduct has devastated

22   the Company’s credibility. The Company is the subject of the Securities Class Action. Zuora

23   has been, and will continue to be, severely damaged and injured by the Individual Defendants'

24   misconduct.

25            116.    As a direct and proximate result of the Individual Defendants’ actions as alleged

26   above, the Company’s market capitalization has been substantially damaged as a result of the

27   conduct described herein.

28            117.    Further, as a direct and proximate result of the Individual Defendants’ conduct,
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 1   the Company has expended, and will continue to expend, significant sums of money. Such

 2   expenditures include, without limitation:

 3                   (a)     costs incurred in connection with being named a defendant in the

 4          Securities Class Action, including the defense and settlement of or judgment in the

 5          litigation, as well as any other related litigation based on the same facts;

 6                   (b)     costs incurred in connection with the lavish and unjustified compensation

 7          and benefits paid to management while they were actively breaching their fiduciary

 8          duties to the Company, including bonuses tied to the Company’s attainment of certain

 9          objectives, which was based, at least in part, on the Company’s artificially-inflated stock

10          price;

11                   (c)     costs incurred in connection with the Insider Selling Defendants’

12          misappropriation of Company information in connection with their unlawful insider

13          sales;

14                   (d)     costs incurred from the loss of the Company’s customers’ confidence in

15          Zuora and its products and services; and

16                   (e)     Costs associated with the reputational harm suffered by Zuora as a result

17          of the misconduct detailed herein, including loss of goodwill, increased borrowing costs,

18          and loss of market capitalization and the resulting impact on the Company’s ability to

19          access the capital markets to raise money.

20          118.     Moreover, these actions have irreparably damaged the Zuora’s corporate image

21   and goodwill. For at least the foreseeable future, Zuora will suffer from what is known as the

22   “liar’s discount,” a term applied to the stocks of companies who have been implicated in illegal

23   behavior and have misled the investing public, such that the Company’s ability to raise equity

24   capital or debt on favorable terms in the future is now impaired.

25          119.     Finally, the Company has also suffered severe losses in market capitalization as

26   a direct result of the Individual Defendants’ wrongdoing alleged herein.

27   XII.   DERIVATIVE AND DEMAND ALLEGATIONS

28          120.     Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.
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 1           121.   Plaintiff brings this action derivatively, in the right and for the benefit of Zuora,

 2   to redress injuries suffered, and to be suffered, by Zuora as a direct result of the Individual

 3   Defendants’ and the Wrongful Refusal Defendants’ breaches of fiduciary duties and other

 4   violations of law. Zuora is named as a nominal defendant solely in a derivative capacity.

 5           122.   Plaintiff will adequately and fairly represent the interests of Zuora in enforcing

 6   and prosecuting its rights.

 7           123.   Plaintiff is, and has continuously been, a shareholder of Zuora since prior to the

 8   start of the Relevant Period, and has been a shareholder at all relevant times, including at the

 9   time of the Individual Defendants’ and Wrongful Refusal Defendants’ wrongdoing complained

10   of herein.

11           124.   As detailed below, Plaintiff’s pre-suit Demand has been wrongfully ignored by

12   the Board, forcing Plaintiff to file this shareholder derivative action on behalf of the Company.

13           125.   Given the Board’s wrongful, bad-faith, and unreasonable failure to respond to

14   Plaintiff’s lawful Demand to sufficiently investigate the misconduct, and/or to take sufficient

15   action to remedy the harms caused to the Company, this shareholder derivative action should be

16   permitted to proceed.

17          A.      Plaintiff’s Demand Allegations

18           126.   Plaintiff made her formal demand for litigation (the “Demand”) on November

19   12, 2021, where she demanded that the Board: (i) undertake (or cause to be undertaken) an

20   independent internal investigation into Individual Defendants’ violations of Delaware and

21   federal law; and (ii) commence a civil action against Individual Defendants (and any others who

22   may be similarly liable for breach of fiduciary duty of care, breach of fiduciary duty of loyalty,

23   aiding and abetting breaches of fiduciary duties, contribution, and indemnification against

24   Individual Defendants) to recover for the benefit of the Company the amount of damages

25   sustained by the Company as a result of their breaches of fiduciary duties alleged herein, as well

26   as take additional affirmative action to redress the wrongs described herein and prevent such

27   wrongdoing from occurring again in the future. A true and correct copy of the Demand is

28   attached hereto as Exhibit A.
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 1          127.     The Demand described how the Individual Defendants have violated the core

 2   fiduciary duty principles described herein during the Relevant Period through their wrongful

 3   conduct described above, in the Federal Securities Class Action and State Securities Class

 4   Action. To redress these wrongs and prevent such wrongdoing from occurring again in the

 5   future, Plaintiff demanded:

 6                   (a)    The Board should require that the Executives and Directors, and any other

 7          persons or entities, account to the Company for all damages sustained, or to be sustained,

 8          by the Company by reason of the wrongs and misconduct complained of herein;

 9                   (b)    The Board should make certain that no Company funds are used towards

10          any settlement or resolution of the Federal Securities Class Action and State Securities

11          Class Action, among any other related litigation;

12                   (c)    The Board should require the Company's officers and directors to return

13          to Zuora all salaries, bonuses, severance, and the value of any other remuneration, of

14          whatever form paid to them by the Company, during the time they were in breach of the

15          fiduciary duties owed to Zuora;

16                   (d)    The Board should require the disgorgement of all profits realized as a

17          result of the illicit insider sales described herein;

18                   (e)    The Board shall terminate, for cause, any Company employee responsible

19          for the wrongdoing alleged herein and, to the extent an officer or director is found to

20          have engaged in wrongdoing, such officer or director of the Company shall immediately

21          be removed from his or her respective position at the Company and/or on the Board for

22          cause;

23                   (f)    The Board should require that the Executives and Directors pay interest

24          at the highest rate allowable by law on the amount of damages sustained by the Company

25          as a result of their culpable conduct; and

26                   (g)    The Board should adopt corporate governance reforms to ensure that the

27          improper and illegal conduct complained of herein will not occur in the future, including,

28          inter alia, reforms to the Company's internal controls and disclosure controls and
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 1          procedures, conflicts of interest and corporate opportunity policies and procedures,

 2          insider selling controls and procedures, and compliance with legal and regulatory

 3          requirements.

 4           128.   On December 15, 2021, Plaintiff's counsel received a letter from defendants'

 5   counsel (the “December 15 Letter”) informing them that the “Board discussed and considered

 6   the Demand at its December 7, 2021 meeting” and “determined that, in the exercise of its

 7   business judgment, the interests of Zuora would be served best by continuing to: (1) monitor

 8   developments in the Federal Class Action, State Class Action and Derivative Actions; and (2)

 9   defer further consideration of the Demand pending additional developments in those cases.”

10   The email also requested documentation of Plaintiff’s ownership in the Company's stock. A

11   true and correct copy of the December 15 Letter is attached hereto as Exhibit B.

12           129.   On December 16, 2021, Plaintiff's counsel sent defendants’ counsel a letter (the

13   “December 16 Letter”) and proof of Plaintiff’s ownership in the Company’s stock. A true and

14   correct copy of the December 16 Letter is attached hereto as Exhibit C.

15           130.   Since Plaintiff’s December 16 Letter, the Board has not responded substantively

16   or otherwise, but has chosen to continue ignoring the Demand.

17
            B.      The Board’s Investigation Was Unreasonable Under Delaware Law And Its
18                  Refusal Of The Demand Was Not A Valid Exercise Of Business Judgment

19           131.   As of the date of filing this complaint, Plaintiff's counsel has not received a

20   response addressing the concerns detailed in the Demand.               The Board failed to act

21   independently, in good faith, and within the realm of sound business judgment when it failed to

22   respond to the Demand, thereby effectively refusing it.

23           132.   The harms complained of in the Demand are actively ongoing and remain

24   unremedied by the Board, causing further damage to the Company with each passing day. In

25   addition, while the Board is refusing to consider the allegations in the Demand, it is also actively

26   forcing the Company to expend vast sums of money in defense of the very wrongdoers

27   responsible for causing harm to the Company in the Federal and State Securities Class Actions,

28   thereby further damaging the Company.
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 1           133 .    Moreover, the Board’s unreasonable deferral will subject the Company’s claims

 2   to the applicable statute of limitations period. These actions by the Board cannot be reasonably

 3   interpreted to be in the best interests of the Company or in good faith. One of Plaintiff’s motives

 4   for issuing the Demand and this Complaint is to ensure that all of Zuora’s claims are properly

 5   adjudicated, including those facing any upcoming statute of limitations deadline. Based on

 6   Plaintiff’s information and belief, none of the Individual Defendants have executed tolling

 7   agreements with the Company to preserve these claims. As such, if the Board were to continue

 8   ignoring the Demand, the Company may waive certain claims belonging to it and suffer

 9   additional harm as a result of Individual Defendants’ wrongful conduct.

10          134.      Here, the Board has determined, without any investigation, to defer consideration

11   of the Demand indefinitely – throughout the pendency of the Federal and State Securities Class

12   Actions, which could span months and even years into the future, particularly in the event that

13   either of these actions proceeds to summary judgment briefing and/or trial, and any appeal(s).

14   See Exhibit B.

15          135.      Making matters worse, an Amended Complaint was filed in the Securities Class

16   Action that brought forth allegations from numerous confidential witnesses formerly employed

17   by the Company. See Securities Class Action, ECF No. 60 (the “Securities Class Action

18   Amended Complaint”). For example, the Securities Class Action Amended Complaint included

19   numerous witness statements regarding Zuora’s inability to integrate Billing and RevPro, that

20   the Company’s false claims about the programs being connected led to upset customers, and that

21   demand for these products was accordingly declining. These statements should have been at

22   least investigated by the Board.

23          136.      The Board’s unwarranted and egregious deferral of its consideration of the

24   Demand will unduly prejudice Plaintiffs and the Company and is therefore a violation of

25   Delaware law.      The Board’s actions thus constitute a wrongful refusal of the Demand.

26   Accordingly, Plaintiff has satisfied any demand requirement and may pursue this action on

27   behalf of the Company.

28          137.      Zuora has been and will continue to be exposed to significant losses due to the
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 1   Individual Defendants’ wrongdoing. Yet, the Wrongful Refusal Defendants have not filed any

 2   lawsuits against any persons who were responsible for the wrongful conduct. Thus, the

 3   Wrongful Refusal Defendants continue to breach their fiduciary duties to the Company and face

 4   a sufficiently substantial likelihood of liability for their breaches.

 5           138.    If Zuora’s current officers and directors are protected against personal liability

 6   for their breaches of fiduciary duties alleged in this complaint by Directors & Officers Liability

 7   Insurance (“D&O Insurance”), they caused the Company to purchase that insurance for their

 8   protection with corporate funds, i.e., monies belonging to the shareholders. However, Plaintiff

 9   is informed and believes that the D&O Insurance policies covering the Individual Defendants in

10   this case may contain provisions that eliminate coverage for any action brought directly by Zuora

11   against the Individual Defendants, known as the “insured versus insured exclusion.”

12           139.    As a result, if the Wrongful Refusal Defendants were to sue any of themselves or

13   certain of the officers of Zuora, there would be no D&O Insurance protection, and thus, this is a

14   further reason why they will not bring such a suit. On the other hand, if the suit is brought

15   derivatively, as this action is brought, such insurance coverage exists and will provide a basis

16   for the Company to effectuate recovery. Therefore, the Wrongful Refusal Defendants cannot be

17   expected to file the claims asserted in this derivative lawsuit because such claims would not be

18   covered under the Company’s D&O Insurance policy.

19           140.    Plaintiff has not made any demand on shareholders of Zuora to institute this

20   action since such demand would be a futile and useless act for the following reasons:

21                   (a)     Zuora is a publicly traded company with thousands of shareholders of

22           record and at least hundreds of thousands of beneficial owners;

23                   (b)     Making demand on such a number of shareholders would be impossible

24           for Plaintiff, who has no means of collecting the names, addresses, or phone numbers of

25           Zuora’s shareholders; and

26                   (c)     Making demand on all shareholders would force Plaintiff to incur

27           excessive expenses and obstacles, assuming all shareholders could even be individually

28           identified with any degree of certainty.
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 1   XIII. CLAIMS FOR RELIEF

 2
                                                COUNT I
 3
                                       Breach of Fiduciary Duty
 4                                  (Against the Officer Defendants)

 5          141.    Plaintiff incorporates by reference and realleges each and every allegation

 6   contained above, as though fully set forth herein.

 7          142.    The Officer Defendants owed fiduciary duties to Zuora and its shareholders. By

 8   reason of their positions as fiduciaries to the Company, the Officer Defendants owed duties of

 9   good faith, loyalty, candor, and truthful disclosure. The Officer Defendants also owed Zuora

10   fiduciary duties imposed and defined by the federal securities laws, rules, regulations, and

11   federal substantive corporate law, which impose broad obligations on Defendants vis-a-vis the

12   corporation and its individual shareholders. In addition, the Officer Defendants have specific

13   fiduciary duties as defined by the Company’s corporate governance documents, including its

14   Code of Ethics, and principles that, had they been discharged in accordance with the Officer

15   Defendants’ obligations, would have prevented the misconduct and the consequent harm to the

16   Company.

17          143.    The Officer Defendants violated these fiduciary duties by issuing, causing to be

18   issued, or otherwise allowing the material omissions and misrepresentations described herein.

19   The Officer Defendants were well aware of the relevant disclosure laws, rules, and regulations.

20          144.    The Officer Defendants consciously breached their fiduciary duties and violated

21   their corporate responsibilities in at least the following ways: affirmatively and repeatedly

22   making and/or failing to correct improper statements in press releases, SEC filings, conference

23   calls, and other public statements, relating to, among other things, Zuora’s business, operations,

24   and growth prospects; failing to ensure the Company’s compliance with relevant legal and

25   regulatory requirements, including but not limited to requirements imposed under state and

26   federal securities laws; and/or failing to implement and maintain adequate internal controls.

27          145.    As a direct and proximate result of the Officer Defendants’ breaches of their

28   fiduciary obligations, Zuora has sustained significant damages.        Accordingly, the Officer
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 1   Defendants are liable to the Company.

 2           146.   Plaintiff, on behalf of Zuora, has no adequate remedy at law.

 3                                              COUNT II

 4                                     Breach of Fiduciary Duty
                                  (Against the Individual Defendants)
 5

 6           147.   Plaintiff incorporates by reference and realleges each and every allegation

 7   contained above, as though fully set forth herein.

 8          148.    The Individual Defendants owed and owe Zuora fiduciary obligations. By reason

 9   of their fiduciary relationships, the Individual Defendants specifically owed and owe Zuora the

10   highest obligation of loyalty, due care, good faith, fair dealing, and candor in the administration

11   of the affairs of the Company, including, without limitation, the oversight of the Company’s

12   compliance with state and federal securities laws, rules, and regulations, as well as the duty of

13   candor and truthful disclosure with respect to their public statements.

14          149.    The Individual Defendants also owed and owe Zuora fiduciary duties imposed

15   and defined by the federal securities laws, rules, regulations, and federal substantive corporate

16   law, which impose broad obligations on the Individual Defendants vis-a-vis the corporation and

17   its individual shareholders. The Individual Defendants violated these fiduciary duties by

18   issuing, causing to be issued, or otherwise allowing the material omissions and

19   misrepresentations described herein.

20          150.    In addition, the Individual Defendants have specific fiduciary duties as defined

21   by the Company’s corporate governance documents, including its Code of Ethics and the

22   charters of various Board committees, and principles that, had they been discharged in

23   accordance with the Individual Defendants’ obligations, would have prevented the misconduct

24   and the consequent harm to the Company.

25          151.    Each Individual Defendant violated his or her fiduciary duties by consciously

26   causing, or consciously failing to prevent the Company from engaging in, the improper acts

27   complained of herein.

28          152.    The Individual Defendants consciously breached their fiduciary duties and
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 1   violated their corporate responsibilities in at least the following ways:

 2                  (i)     Failing to maintain an adequate system of oversight, accounting controls

 3                          and procedures, disclosure controls, and other internal controls, which

 4                          were necessary to prevent or promptly correct the improper statements

 5                          made on the Company’s behalf;

 6                  (ii)    Affirmatively and repeatedly making or allowing to be made, and/or

 7                          failing to correct, improper statements in Company press releases, SEC

 8                          filings, and other public statements relating to, among other things,

 9                          Zuora’ business, operations, and prospects;

10                  (iii)   Failing to ensure the Company’s compliance with relevant legal and

11                          regulatory requirements, including but not limited to requirements

12                          imposed under state and federal securities laws;

13                  (iv)    Awarding Zuora’ senior executives lavish compensation packages

14                          despite their responsibility for the Company’s willful misconduct; and

15                  (v)     Reappointing certain directors who had failed in their duties to the Audit

16                          Committee.

17           153.   As a direct and proximate result of the Individual Defendants’ breaches of their

18   fiduciary obligations, Zuora has sustained significant damages. Accordingly, the Individual

19   Defendants are liable to the Company.

20           154.   Plaintiff, on behalf of Zuora, has no adequate remedy at law.

21
                                                COUNT III
22
                                       Breach of Fiduciary Duty
23                            (Against the Wrongful Refusal Defendants)

24           155.   Plaintiff incorporates by reference and realleges each and every allegation

25   contained above, as though fully set forth herein.

26           156.   The Wrongful Refusal Defendants owed and owe Zuora fiduciary obligations.

27   By reason of their fiduciary relationships, the Wrongful Refusal Defendants specifically owed

28   and owe Zuora the highest obligation of good faith, fair dealing, loyalty, and due care in the
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 1   administration of the affairs of the Company.

 2          157.    The Wrongful Refusal Defendants violated these fiduciary duties by failing to

 3   act independently, in good faith, and within the realm of sound business judgment in considering

 4   and responding to the Demand.

 5          158.    As a direct and proximate result of the Wrongful Refusal Defendants’ breaches

 6   of their fiduciary obligations, Zuora has sustained significant damages. Accordingly, the

 7   Wrongful Refusal Defendants are liable to the Company.

 8          159.    Plaintiff, on behalf of Zuora, has no adequate remedy at law.

 9                                             COUNT IV

10                                     Waste of Corporate Assets
                                       (Against All Defendants)
11

12          160.    Plaintiff incorporates by reference and realleges each and every allegation

13   contained above, as though fully set forth herein.

14          161.    As a result of Defendants’ misstatements and failure to implement adequate

15   internal controls to ensure that the Company’s SEC filings and other public statements were not

16   misleading, Zuora is subject to the Securities Class Action. Defendants have caused Zuora to

17   waste its corporate assets by forcing the Company to expend valuable resources in defending

18   itself in the ongoing litigation, in addition to any ensuing costs from a potential settlement or

19   adverse judgment.

20          162.    As a result of their waste of corporate assets, Defendants are liable to the

21   Company.

22          163.    Plaintiff, on behalf of Zuora, has no adequate remedy at law.

23                                            COUNT V
                                          Unjust Enrichment
24                                      (Against All Defendants)
25          164.    Plaintiff incorporates by reference and realleges each and every allegation

26   contained above, as though fully set forth herein.

27          165.    By their wrongful acts and omissions, Defendants were unjustly enriched at the

28   expense of and to the detriment of Zuora. Defendants were unjustly enriched as a result of the
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 1   compensation and remuneration they received while breaching fiduciary duties owed to the

 2   Company.

 3          166.    Plaintiff, as a shareholder and representative of Zuora, seeks restitution from

 4   Defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits,

 5   and other compensation obtained by Defendants, and each of them, from their wrongful conduct

 6   and fiduciary breaches.

 7          167.    Plaintiff, on behalf of Zuora, has no adequate remedy at law.

 8                                             COUNT VI

 9              Breach of Fiduciary Duty Through the Misappropriation of Material,
                                     Non-Public Information
10                            (Against the Insider Selling Defendants)

11          168.    Plaintiff incorporates by reference and realleges each and every allegation

12   contained above, as though fully set forth herein.

13          169.    At the time the Insider Selling Defendants sold their Zuora stock, they knew the

14   information described above and sold Zuora stock on the basis of such information.

15          170.    The information described above was proprietary, non-public information

16   concerning the Company’s financial condition and future business prospects. It was a

17   proprietary asset belonging to the Company, which the Insider Selling Defendants

18   misappropriated to their own benefit when they sold Zuora stock.

19          171.    The Insider Selling Defendants’ sales of stock while in possession and control of

20   this material, adverse, non-public information was a breach of their fiduciary duties of loyalty

21   and good faith.

22          172.    Since the use of the Company’s proprietary information for their own gain

23   constitutes a breach of the Insider Selling Defendants’ fiduciary duties, the Company is entitled

24   to the imposition of a constructive trust on any profits the Insider Selling Defendants obtained

25   thereby.

26          173.    Plaintiff, on behalf of Zuora, has no adequate remedy at law.

27

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 1                                             COUNT VII

 2                      Derivatively for Contribution Under Sections 10(B) and
                                        21D of the Exchange Act
 3                         (Against the Securities Class Action Defendants)

 4           174.    Plaintiff incorporates by reference and realleges each and every allegation

 5   contained above, as though fully set forth herein.

 6           175.    During the Relevant Period, Zuora and the Securities Class Action Defendants

 7   carried out a plan, scheme, and course of conduct which was intended to and, throughout the

 8   Relevant Period, did: (i) deceive the investing public, including Plaintiff and other shareholders,

 9   as alleged herein; and (ii) caused Plaintiff and other shareholders to purchase Zuora common

10   stock at artificially inflated prices.

11           176.    The Securities Class Action Defendants: (i) employed devices, schemes, and

12   artifices to defraud; (ii) made untrue statements of material fact and/or omitted to state material

13   facts necessary to make the statements not misleading; and (iii) engaged in acts, practices, and

14   a course of business which operated as a fraud and deceit upon the purchasers of the Company’s

15   common stock in an effort to maintain artificially high market prices for Zuora common stock

16   in violation of Section 10(b) of the Exchange Act and Rule 10b-5, promulgated thereunder.

17           177.    Zuora and the Securities Class Action Defendants, individually and in concert,

18   directly and indirectly, by the use, means or instrumentalities of interstate commerce and/or of

19   the mails, engaged and participated in a continuous course of conduct to conceal adverse

20   material information about the Company’s financial well-being, operations, and prospects.

21           178.    During the Relevant Period, the Securities Class Action Defendants made the

22   false statements specified above, which they knew or recklessly disregarded to be false and

23   misleading in that they contained misrepresentations and failed to disclose material facts

24   necessary in order to make the statements made, in light of the circumstances under which they

25   were made, not misleading.

26           179.    Zuora and the Securities Class Action Defendants had actual knowledge of the

27   misrepresentations and omissions of material fact set forth herein, or recklessly disregarded the

28   true facts that were available to them. Zuora and the Securities Class Action Defendants
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 1   engaged in this misconduct to conceal Zuora’s true condition from the investing public and to

 2   support the artificially inflated prices of the Company’s common stock.

 3             180.   Plaintiff and the shareholders have suffered damages in that, in reliance on the

 4   integrity of the market, they paid artificially inflated prices for Zuora common stock. Plaintiff

 5   and other shareholders would not have purchased the Company’s common stock at the prices

 6   they paid, or at all, had they been aware that the market prices for Zuora common stock had been

 7   artificially inflated by Defendants’ fraudulent course of conduct.

 8             181.   As a direct and proximate result of Zuora’s and the Securities Class Action

 9   Defendants’ wrongful conduct, Plaintiff and the other shareholders suffered damages in

10   connection with their respective purchases of the Company’s common stock during the Relevant

11   Period.

12             182.   By virtue of the foregoing, Zuora and the Securities Class Action Defendants

13   violated Section 10(b) of the Exchange Act and Rule 10b-5, promulgated thereunder.

14   XIV. PRAYER FOR RELIEF

15             WHEREFORE, Plaintiff demands judgment as follows:

16             A.     Finding that all of the Defendants have breached their fiduciary duties to the

17                    Company, wasted corporate assets, were unjustly enriched, and violated the

18                    federal securities laws;

19                    (i)    Directing Zuora to take all necessary actions to reform and improve its

20                           corporate governance and internal procedures to comply with applicable

21                           laws and to protect the Company and its shareholders from a repeat of the

22                           damaging events described herein, including, but not limited to, putting

23                           forward for shareholder vote resolutions for amendments to the

24                           Company’s Bylaws or Articles of Incorporation, and taking such other

25                           action as may be necessary to place before shareholders for a vote on the

26                           following corporate governance proposals, actions, or policies:

27

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 1            (ii)    a proposal to strengthen the Company’s accounting and disclosure

 2                    controls to ensure that all material information is adequately and timely

 3                    disclosed to the SEC and the public;

 4            (iii)   a proposal to develop and implement procedures for greater shareholder

 5                    input into the policies and guidelines of the Board;

 6            (iv)    a provision to permit the shareholders of Zuora to nominate three

 7                    candidates for election to the Board;

 8            (v)     an accounting by the Zuora officers to the Company for all damages

 9                    sustained, or to be sustained, by the Company by reason of the wrongs

10                    and misconduct complained of herein, and should make certain that no

11                    Company funds are used towards any settlement or resolution of the

12                    Securities Class Action, State Securities Class Action, or any related or

13                    similar litigation;

14            (vi)    the termination, for cause, any Company employee responsible for the

15                    wrongdoing alleged herein, including Tien Tzuo and Tyler Sloat;

16            (vii)   the return to the Company all salaries, bonuses, and the value of other

17                    remuneration of whatever kind paid to them during the time they were in

18                    breach of their fiduciary duties; and

19            (viii) the payment of interest by Zuora officers, at the highest rate allowable by

20                    law, on the amount of damages sustained by the Company as a result of

21                    their culpable conduct.

22      B.    Against each Defendant in favor of Zuora for the amount of damages sustained

23            by Zuora, jointly and severally, in an amount to be determined at trial, together

24            with pre- and post-judgment interest at the maximum legal rate allowable by law;

25      C.    Requiring Defendants to return to Zuora all compensation and remuneration of

26            whatever kind paid to them by the Company during the time that they were in

27            breach of their fiduciary duties;

28      D.    Directing Defendants to establish, maintain, and fully fund effective corporate
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 1                 governance and compliance programs to ensure that Zuora’s directors, officers,

 2                 and employees do not engage in wrongful or illegal practices;

 3         E.      Granting additional appropriate equitable and/or injunctive relief to remedy

 4                 Defendants’ misconduct, as permitted by law;

 5         F.      Awarding Plaintiff the costs and disbursements of this action, including

 6                 reasonable attorneys’ and experts’ fees and expenses; and

 7         G.      Granting such other and further relief as this Court deems just and equitable.

 8   XV.   DEMAND FOR JURY TRIAL

 9         Plaintiff demands a jury trial as to all issues so triable.

10

11   Dated: May 10, 2022                               JOHNSON FISTEL, LLP

12                                              By:   /s/ Brett M. Middleton
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                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
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                                                      VERIFICATION

                     I, Theresa DeRycke, am a plaintiff in this derivative action. I have reviewed

            the allegations made in the foregoing verified shareholder derivative complaint,

            know the contents thereof, and authorize its filing. To those allegations of which I

            have personal knowledge, I believe those allegations to be true. As to those

            allegations of which I do not have personal knowledge, I rely upon my counsel and

            their investigation and believe them to be true.

                     I declare under penalty of perjury that the foregoing is true and correct.

            Executed on: 5/9/2022

                                              _____________________________

                                              THERESA DeRYCKE
